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                                   UNITED STATES BANKRUPTCY COURT
                                     SOUTHERN DISTRICT OF TEXAS
                                           HOUSTON DIVISION
                                                                     §
    In re:                                                           § Chapter 11
                                                                     §
    STRUDEL HOLDINGS LLC and                                         § Case No. 23-90757 (CML)
    AVR AH LLC,                                                      §
                                                                     § (Jointly Administered)
                        Debtors.1                                    §
                                                                     §

 SIXTH MONTHLY FEE STATEMENT OF PORTER HEDGES LLP, AS BANKRUPTCY
 COUNSEL FOR THE DEBTORS AND DEBTORS-IN-POSSESSION, FOR ALLOWANCE
OF COMPENSATION AND REIMBURSEMENT OF EXPENSES FOR THE PERIOD FROM
               JANUARY 1, 2024 THROUGH JANUARY 31, 2024

    Name of Applicant:                                             Porter Hedges LLP, as Bankruptcy Counsel for
                                                                   the Debtors and Debtors-In-Possession

    Date of Retention Order:                                       September 27, 2023 (Doc. No. 164)

    Period for which Fees and Expenses are                         January 1, 2024 through and including
    Incurred:                                                      January 31, 2024

    Interim Fees Incurred:                                         $125,313.50

    Interim Payment of Fees Requested (80%):                       $100,250.80

    Interim Expenses Incurred:                                     $266.17

    Total Fees and Expenses Due:                                   $100,516.97

This is the Sixth Monthly Fee Statement.




1
 The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are: AVR AH LLC (0148)
and Strudel Holdings LLC (5426). The Debtors’ service address is: PO Box 4068, Aspen, CO 91612.



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       Porter Hedges LLP (“Porter Hedges”), as Bankruptcy Counsel for the Debtors and Debtors-In-

Possession (the “Debtors’ Counsel”) submits this Fifth Monthly Fee Statement (the “Fee Statement”)

for the period from January 1, 2024 through January 31, 2024 (the “Application Period”) in accordance

with the Order Granting Debtors’ Motion for an Order Under 11 U.S.C. §§ 105(A) and 331 Establishing

Procedures for Interim Compensation and Reimbursement of Expenses for Professionals [Docket No.

142] (the “Interim Compensation Order”).

       Porter Hedges requests compensation for professional services rendered in the amount of

$125,313.50 (the “Fees”), and for reimbursement of out-of-pocket expenses incurred in the amount of

$266.17 (the “Expenses”), for the period from January 1, 2024 through January 31, 2024. Eighty

percent (80%) of the fees equals $100,250.80 and one hundred percent (100%) of the Expenses equals

$266.17 for a total requested amount of $100,516.97.

       Summaries of the calculations for these fees by project category and expenses are attached

hereto as Exhibit 1 and Exhibit 2, respectively. A summary of the time expended by Porter Hedges

attorneys and support staff, together with their respective hourly rates, is attached hereto as Exhibit 3.

Porter Hedges’ invoices for the Application Period is attached hereto as Exhibit 4.

       WHEREFORE, Porter Hedges respectfully requests payment and reimbursement in

accordance with the procedures set forth in the Interim Compensation Order (i.e., payment of eighty

percent (80%) of the compensation sought, in the amount of $100,250.80 and reimbursement of one

hundred percent (100%) of expenses incurred in the amount of $266.17 in the total amount of

$100,516.97.




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Dated: February 9, 2023
       Houston, Texas                               PORTER HEDGES LLP

                                          By:       /s/ Joshua W. Wolfshohl
                                                    Joshua W. Wolfshohl (TX Bar No. 24038592)
                                                    Aaron J. Power (TX Bar No. 24058058)
                                                    Michael B. Dearman (TX Bar No. 24116270)
                                                    1000 Main St., 36th Floor
                                                    Houston, TX 77002
                                                    Tel: (713) 226-6000
                                                    Fax: (713) 226-6248
                                                    jwolfshohl@porterhedges.com
                                                    apower@porterhedges.com
                                                    mdearman@porterhedges.com

                                                    COUNSEL FOR DEBTORS
                                                    AND DEBTORS IN POSSESSION


                                CERTIFICATE OF SERVICE

        This will certify that a true and correct copy of the foregoing document was forwarded by
electronic transmission to all registered ECF users appearing in the case on February 9, 2024.

                                                    /s/ Joshua W. Wolfshohl
                                                        Joshua W. Wolfshohl




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                                          EXHIBIT 1

                   SUMMARY OF TIME EXPENDED BY PROJECT CATEGORY

                 Project Category                     Total     Total Fees
                                                      Hours     Requested
   Case Administration                                    .60                207.00
   Asset Disposition                                   129.50          99,661.50
   Claims Administration and Objections                  0.00                  0.00
   Asset Analysis/Recovery                               0.00                  0.00
   Adversary Proceedings/Litigation                       .50                280.50
   Business Operations                                   0.00                  0.00
   Fee/Employment Applications                          13.80           9,363.00
   Financing/Cash Collateral                            13.90          11,370.50
   Meetings and Communications with Creditors            0.00                  0.00
   Relief from Stay/Adequate Protection                  0.00                  0.00
   Assumption/Rejection of Leases and Contracts          0.00                  0.00
   Hearings                                              3.10           1,321.50
   Plan and Disclosure Statement                         4.10           2,584.50
   Reporting                                             1.00                525.00


   TOTAL                                               166.50         125,313.50




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                                       EXHIBIT 2

                        SUMMARY OF OUT-OF-POCKET EXPENSES

                            Expenses                              Cost

  Computer Assisted Legal Research                                         207.55
  Delivery Service                                                          58.62


  TOTAL                                                                  $ 266.17




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                                   EXHIBIT 3

             SUMMARY OF TIME EXPENDED BY ATTORNEYS AND SUPPORT STAFF

                   Professional             Hourly Rate        Total Hours
  Joshua W. Wolfshohl                               $875.00                  69.00
  Heather K. Hatfield                               $800.00                   0.00
  Aaron J. Power                                    $795.00                  59.50
  Anders T. C. Gibson                               $725.00                   0.00
  Michael B. Dearman                                $565.00                   0.00
  Jordan T. Stevens                                 $550.00                   0.00
  Charles C. McGee                                  $545.00                  10.50
  Kenesha L. Starling                               $525.00                   6.60
  Carey A. Sakert                                   $445.00                  12.20
  Mitzie L. Webb                                    $405.00                    .30
  Eliana Garfias                                    $345.00                   8.40


  TOTAL                                                                    166.50




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                                     PORTER HEDGES LLP
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                                                    DEPT. 510
                                                  P.O. BOX 4346                          Page                     1
                                           HOUSTON, TEXAS 77210-4346                     Inv#               559419
                                        ________________________________                 Date              02/09/24
                                                                                                       018111-0002
                                           TELEPHONE (713) 226-6000                               JOSHUA W. WOLFSHOHL
                                           TELECOPIER (713) 228-1331



AVR AH LLC AND STRUDEL HOLDINGS LLC                                                             TAX ID# XX-XXXXXXX
CORPORATE RECOVERY SERVICES
ATTN: DOUG BRICKLEY


Case Administration




                                           Invoice Summary


          Professional Services                                                $207.00
          Disbursements                                                         266.17

          Total Current Invoice                                                $473.17

          TOTAL AMOUNT DUE                                                     $473.17




                                                                                     EXHIBIT 4
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                                          PORTER HEDGES LLP
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                                                         P.O. BOX 4346                               Page                     2
                                                  HOUSTON, TEXAS 77210-4346                          Inv#               559419
                                               ________________________________                      Date              02/09/24
                                                                                                                   018111-0002
                                                  TELEPHONE (713) 226-6000                                    JOSHUA W. WOLFSHOHL
                                                  TELECOPIER (713) 228-1331



                                                                                                            TAX ID# XX-XXXXXXX




For professional services rendered and related expenses incurred in the above-referenced matter through
January 2024, as follows:


Date         Tkpr     Description                                                          Hours             Amount
01/02/24     EG       Review docket updates for upcoming deadlines and scheduled            0.20               69.00
                      hearings.

01/12/24     EG       Attention to docketing of scheduled depositions.                       0.20                69.00

01/16/24     EG       Review docket updates for scheduled hearings and upcoming              0.20                69.00
                      deadlines.

Total Services                                                                               0.60             $207.00



Timekeeper Summary

Attorney/Legal Assistant                      Title                               Hours     Rate             Amount
EG     Eliana Garfias                         Paralegal                            0.60   345.00              207.00


Disbursements Summary
Description                                                                                                     Value
Computer Assisted Legal Research                                                                               207.55
Delivery Service                                                                                                58.62
Total Disbursements                                                                                           $266.17


Invoice Total                                                                                                 $473.17
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                                            HOUSTON, TEXAS 77210-4346                        Inv#               559420
                                         ________________________________                    Date              02/09/24
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                                            TELEPHONE (713) 226-6000                                  JOSHUA W. WOLFSHOHL
                                            TELECOPIER (713) 228-1331



AVR AH LLC AND STRUDEL HOLDINGS LLC                                                                 TAX ID# XX-XXXXXXX
CORPORATE RECOVERY SERVICES
ATTN: DOUG BRICKLEY


Asset Disposition




                                            Invoice Summary


           Professional Services                                                $99,661.50
           Disbursements                                                              0.00

           Total Current Invoice                                                $99,661.50

           TOTAL AMOUNT DUE                                                     $99,661.50
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                                                  HOUSTON, TEXAS 77210-4346                          Inv#               559420
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                                                  TELEPHONE (713) 226-6000                                    JOSHUA W. WOLFSHOHL
                                                  TELECOPIER (713) 228-1331



                                                                                                            TAX ID# XX-XXXXXXX




For professional services rendered and related expenses incurred in the above-referenced matter through
January 2024, as follows:


Date         Tkpr     Description                                                          Hours             Amount
01/02/24     CCM      Correspondence with opposing counsel regarding new closing            0.20              109.00
                      docs and closing procedure.

01/02/24     AJP      Attention to emails regarding status of KYC for escrow                 2.10            1,669.50
                      account (.3); review lenders' response to Fleeger's emergency
                      motion (.3); review PSA and lenders' argument regarding right
                      to proxy vote at HOA meeting (.3); review draft escrow
                      agreement (.2); calls with J. Wolfshohl and D. Brickley
                      regarding issues related to closing and pending motion filed by
                      Fleeger (.6); call with M. Warner regarding potential
                      settlement discussion and email D. Brickley summary of same
                      (.3); review ComputerShare comments to escrow agreement
                      and circulate comments (.1).

01/02/24     JWW      Several emails with Orrick and CRO regarding sale timeline             2.40            2,100.00
                      and closing documents (1.0); conference with D. Brickley and
                      A. Power regarding same (1.2); review notice of hearing and
                      emails regarding same (.2).

01/03/24     AJP      Call with J. Wolfshohl and D. Brickley regarding strategy for          2.40            1,908.00
                      status conference (.5); review Fleeger's response in support of
                      emergency motion (.1); attention to emails regarding structure
                      of proposed escrow agreement (.1); call with J. Wolfshohl
                      regarding preparation and strategy for status conference on
                      Fleeger's emergency motion (.3); attend emergency status
                      conference on Fleeger motion (1.4).
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                                               HOUSTON, TEXAS 77210-4346                     Inv#               559420
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Date        Tkpr   Description                                                       Hours           Amount
01/03/24    JWW    Meet with A. Power and conferences with D. Brickley                6.40           5,600.00
                   regarding hearing on motion to reconsider (.5); review motion
                   and response in preparation for hearing (.2); conference with
                   T. Davidson and J. Rovira regarding same (.6); meet with A.
                   Power (.2); conference with A. Power and D. Brickley
                   regarding hearing and status of sale documents (.5);
                   conference with P. Hughes (.4); prepare for and attend
                   hearing (2.0); follow-up call with J. Rovira (.2); conferences
                   with D. Brickley regarding sale status and DIP funding (.5);
                   conference with L. Metzger regarding same (.6); conference
                   and emails with J. Sparacino regarding same (.5); conference
                   with A. Power regarding next steps with sale (.2).

01/04/24    CCM    Correspondence with title company regarding closing docs           0.20             109.00
                   (.1); correspondence with A. Power and buyer’s counsel
                   regarding closing (.1).

01/04/24    AJP    Attention to emails regarding status of closing documents.         0.20             159.00

01/05/24    CAS    Email communications with A. Power, J. Wolfshohl, and with         0.30             133.50
                   K. Haass (CIO) regarding collection of internal PH email in
                   anticipation of discovery requests.

01/05/24    AJP    Review lenders' letter response in advance of hearing (.2);        2.40           1,908.00
                   several conferences with J. Wolfshohl regarding strategy for
                   hearing (.5); attention to emails regarding revisions to second
                   amendment and escrow agreement (.3); attention to emails
                   regarding KYC issues (.2); conference with D. Brickley and J.
                   Wolfshohl after the hearing on next steps (.2); begin working
                   with C. Sakert on PH document collection for discovery
                   related to first amendment (1.0).
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                                            ________________________________                Date              02/09/24
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                                               TELECOPIER (713) 228-1331



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Date        Tkpr   Description                                                      Hours           Amount
01/05/24    JWW    Review pleadings in preparation for hearing on motion to          4.20           3,675.00
                   reconsider (.8); meet with A. Power regarding same and
                   finalizing sale issues and Second Amendment (.5); review
                   Second Amendment and emails with Orrick regarding same
                   (.3); conference call with L. Metzger regarding hearing (.4);
                   attend hearing (1.9); conference with J. Rovira regarding sale
                   and DIP issues (.3).

01/08/24    CCM    Correspondence with title company regarding closing               0.20             109.00
                   documents.

01/08/24    CAS    Continued email communications with A. Power, J. Wolfshohl,       0.20               89.00
                   and with K. Haass (CIO) regarding collection of internal PH
                   email.

01/08/24    AJP    Attention to emails regarding document collection for             0.20             159.00
                   anticipated discovery requests.

01/08/24    JWW    Emails with D. Brickley and A. Power regarding next steps in      1.40           1,225.00
                   sale process (.2); conference call regarding same and
                   discovery/budgetary issues related to sale (.6); follow-up
                   emails with counsel for DIP Lender (.2); review budget for
                   sale transaction closing and provide comments to same (.2);
                   emails with C. McGee regarding remaining open issues for
                   sale with Lenders (.2).

01/09/24    KLS    Prepare initial draft of Debtors' Responses to Fleeger Family     0.70             367.50
                   First LP's First Set of Requests for Production for A. Power's
                   review.
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Date        Tkpr   Description                                                          Hours           Amount
01/09/24    CAS    Communications with K. Haass and A. Power regarding                   3.10           1,379.50
                   internal collection of email (.3); receive data collection from K.
                   Haass (.2); process and de-dupe 250MB pst file (.7); conduct
                   preliminary review to eliminate non-responsive items (.6); load
                   new data into Eclipse database (.5); apply keyword
                   management and persistent highlighting to facilitate more
                   efficient review by attorneys (.3); conduct searches to identity
                   and segregate any emails strictly internal to Porter Hedges for
                   privilege review (.3); create review set for A. Power (.1);
                   communications with A. Power regarding review and findings
                   (.1).

01/09/24    AJP    Review discovery requests and correspondence from Fleeger             1.50           1,192.50
                   and discuss responses with J. Wolfshohl (.5); internal emails
                   and calls with Porter Hedges staff regarding collection of
                   emails in response to document requests (.5); attention to
                   emails with Fleeger and Lenders counsel regarding status of
                   closing documents and open items for each (.3); review lender
                   parties' discovery requests to Fleeger (.1) review and revise
                   draft written responses to Fleeger request for production (.1).

01/09/24    JWW    Review discovery letter and requests for production (.3); meet        2.40           2,100.00
                   with A. Power regarding same and collection of documents
                   and discovery process (.2); conference with A. Power and D.
                   Brickley regarding same (.4); conference with T. Davidson
                   and J. Rovira regarding next steps in sale process and Soukis
                   position on HOA issues (.8); further conferences with D.
                   Brickley and A. Power (.3); emails with Fleeger's counsel and
                   Lenders' counsel regarding discovery and status of closing
                   after hearing (.4).
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                                                HOUSTON, TEXAS 77210-4346                     Inv#               559420
                                             ________________________________                 Date              02/09/24
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                                                TELEPHONE (713) 226-6000                               JOSHUA W. WOLFSHOHL
                                                TELECOPIER (713) 228-1331



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Date        Tkpr   Description                                                        Hours           Amount
01/10/24    CAS    Communications with A. Power and J. Wolfshohl regarding             0.40            178.00
                   collection of text messages responsive to discovery requests
                   (.2); communications with A. Power regarding document
                   review project (.2).

01/10/24    AJP    Calls with J. Wolfshohl regarding document review and               1.70           1,351.50
                   discovery responses (.5); emails with K. Starling regarding
                   written responses to discovery (.2); emails with PH staff
                   regarding collection of internal emails and text messages (.4);
                   begin document review and drafting timeline of events for
                   deposition prep (.6).

01/10/24    JWW    Multiple emails with Fleeger and Lender counsel regarding           2.30           2,012.50
                   sale and closing issues (.5); conference with T. Davidson
                   regarding discovery issues (.2); conference with A. Power
                   regarding same and emails with C. McGee (.3); conference
                   with N. Poli regarding discovery issues related to sale dispute
                   (.3); conference with M. Doran regarding Fidelity information
                   (.2); emails regarding same (.2); all hands conference call with
                   Lender and Fleeger counsel regarding discovery (.6).

01/11/24    CAS    Communications with J. Caldwell at Stout regarding collection       0.80             356.00
                   of email (.2); receive 200MB pst file from J. Caldwell (.2);
                   begin processing new data (.4).

01/11/24    AJP    Review lender parties' 30(b)(6) depo notice and emails with         6.40           5,088.00
                   D. Brickley regarding same (.1); emails and call with Fleeger
                   counsel regarding potential emergency hearing on motion to
                   take discovery from Fidelity (.2); attention to emails regarding
                   status of second amendment (.1); continue document review
                   and drafting detailed timeline of events (5.6); call with J.
                   Wolfshohl regarding timeline (.4).
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                                                HOUSTON, TEXAS 77210-4346                        Inv#               559420
                                             ________________________________                    Date              02/09/24
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                                                TELEPHONE (713) 226-6000                                  JOSHUA W. WOLFSHOHL
                                                TELECOPIER (713) 228-1331



                                                                                                        TAX ID# XX-XXXXXXX




Date        Tkpr   Description                                                           Hours           Amount
01/11/24    JWW    Work on discovery issues (1.2); emails and phone conference            2.10           1,837.50
                   with A. Power regarding closing issues and next steps with
                   sale hearing (.4); emails regarding issues with data recovery
                   and document review (.5).

01/12/24    KLS    Review and revise Debtors' letter to the New York state court          4.20           2,205.00
                   regarding the adversary trial proceeding (.3); revise initial draft
                   of Debtors' Objections and Responses to Fleeger Family First
                   LP's First Set of Requests for Production to incorporate
                   comments from A. Power (.5); conduct research regarding



                          (3.4).

01/12/24    CAS    Email communications with J. Wolfshohl regarding PH                    4.60           2,047.00
                   collected email (.1); conduct searches in database to locate
                   specific documents for A. Power and J. Wolfshohl (.2);
                   continue processing and de-duping J. Caldwell's email data
                   (.5); conduct preliminary review to eliminate non-responsive
                   data (.3); load J. Caldwell's email into database (.3); create
                   review set of Caldwell's email for A. Power (.3); receive
                   additional PH email collection from K. Haass (.2); process
                   and de-duping additional PH email collection (.7); review
                   additional PH email collection to eliminate non-responsive data
                   (.4); add roughly 300 new documents to database (.4); create
                   review set for A. Power (.2); conduct review of email in
                   database and identify additional duplicate data in 120 records
                   (.5); perform email threading to assist in review (.5).

01/12/24    AJP    Emails with C. Sakert regarding collection and processing of           3.30           2,623.50
                   PH and Stout emails (.5); call with J. Wolfshohl regarding
                   privilege issues and email K. Starling regarding research
                   assignment (.4); continue reviewing PH documents for
                   production (2.4).
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                                        PORTER HEDGES LLP
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                                                       P.O. BOX 4346                            Page                     8
                                                HOUSTON, TEXAS 77210-4346                       Inv#               559420
                                             ________________________________                   Date              02/09/24
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                                                TELEPHONE (713) 226-6000                                 JOSHUA W. WOLFSHOHL
                                                TELECOPIER (713) 228-1331



                                                                                                       TAX ID# XX-XXXXXXX




Date        Tkpr   Description                                                          Hours           Amount
01/12/24    JWW    Phone conference with A. Power regarding discovery related            0.40            350.00
                   to sale (.1); emails regarding open issues (.3).

01/13/24    CAS    Communications with D. Brickey at Stout regarding collection          0.50             222.50
                   of text messages (.2); receive text messages from Brickey (.1);
                   being processing same (.2).

01/13/24    AJP    Review Stout documents for production and finish drafting             3.00           2,385.00
                   timeline for D. Brickley depo prep.

01/15/24    CAS    Finish processing Brickey's text messages and add same to             1.50             667.50
                   database for A. Power to review (.3); conduct QC in
                   anticipation of production and confirm findings with A. Power
                   (.6); begin preparing documents for production (.6).

01/15/24    AJP    Review D. Brickley text messages and emails with C. Sakert            0.30             238.50
                   regarding document production.

01/16/24    CCM    Correspondence with title company regarding status of closing         0.10               54.50
                   documents.

01/16/24    CAS    Finalize production of AVR000001-002192 and prepare                   0.80             356.00
                   download link for service of production on opposing counsel.

01/16/24    AJP    Attention to emails regarding extension of Fleeger outside            1.10             874.50
                   closing date (.1); call with J. Wolfshohl regarding status of
                   document production (.1); emails with C. Sakert regarding
                   document production (.1); review and revise draft of written
                   responses and objections to requests for production (.4);
                   serve discovery responses and production (.1); attention to
                   emails regarding changing D. Brickley deposition time (.1);
                   attention to emails regarding witness and exhibit list for hearing
                   (.1); attention to emails regarding privilege dispute between
                   lenders and Fleeger (.1).
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                                        PORTER HEDGES LLP
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                                                TELEPHONE (713) 226-6000                             JOSHUA W. WOLFSHOHL
                                                TELECOPIER (713) 228-1331



                                                                                                   TAX ID# XX-XXXXXXX




Date        Tkpr   Description                                                      Hours           Amount
01/16/24    JWW    Work on discovery (1.0); phone conferences with M.                2.30           2,012.50
                   Giugliano regarding D. Brickley deposition (.5); emails
                   regarding discovery responses (.2); emails with L. Metzger
                   regarding closing and second amendment (.2); conference with
                   A. Power regarding discovery (.2); emails regarding joint
                   privilege issue with Fleeger and Beyond the Beach (.2).

01/17/24    AJP    Conference with J. Wolfshohl regarding D. Brickley                2.40           1,908.00
                   deposition prep and email D. Brickley outline (.2); review
                   Fleeger's emergency motion to compel discovery (.1);
                   attention to emails regarding status of closing documents for
                   Fleeger and Lenders' potential sales (.2); prepare documents
                   for meeting with D. Brickley on deposition prep (.4); meeting
                   with D. Brickley to prepare for deposition (1.5).

01/17/24    JWW    Review outline of timeline and prepare for meeting with D.        4.30           3,762.50
                   Brickley regarding deposition (1.0); meet with D. Brickley
                   regarding deposition preparation (2.0); hearing on various
                   motions regarding discovery (.6); emails and phone
                   conference regarding statement to be filed with Court
                   regarding capital contribution (.3); work on issues related to
                   motion to extend exclusivity (.4).

01/18/24    CCM    Review Fleeger title company correspondence (.2);                 0.30             163.50
                   correspondence with J. Wolfshohl and A. Power (.1).

01/18/24    AJP    Meet with D. Brickley prior to deposition (.2); review and        0.80             636.00
                   analyze Lenders' revisions to draft second amendment and
                   email J. Caldwell regarding same (.2); respond to C. McGee
                   about closing documents for back-up sale to Fleegers (.1);
                   conference with J. Wolfshohl after D. Brickley deposition
                   regarding deposition and hearing preparation (.3).
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                                        PORTER HEDGES LLP
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                                             ________________________________                  Date              02/09/24
                                                                                                             018111-0004
                                                TELEPHONE (713) 226-6000                                JOSHUA W. WOLFSHOHL
                                                TELECOPIER (713) 228-1331



                                                                                                      TAX ID# XX-XXXXXXX




Date        Tkpr   Description                                                         Hours           Amount
01/18/24    JWW    Meet with D. Brickley in preparation for deposition (.5);            7.00           6,125.00
                   attend deposition of R. Johnson (2.8); meet with D. Brickley
                   regarding same (.4); defend D. Brickley deposition (3.0);
                   further meeting with D. Brickley regarding upcoming hearing
                   and sale issues (.3).

01/19/24    KLS    Prepare Witness/Exhibit List for January 22nd Evidentiary            0.30             157.50
                   Hearing for A. Power.

01/19/24    AJP    Review and approve exhibit list and attention to related emails      0.30             238.50
                   (.1); attention to emails regarding negotiation over revisions to
                   draft second amendment (.2).

01/19/24    JWW    Emails and phone conferences regarding finalizing Second             3.10           2,712.50
                   Amendment with Lenders (.4); conference with J. Rovira
                   regarding same (.3); several phone conferences with D.
                   Brickley regarding same (.3); conference with A. Power
                   regarding Monday hearing (.1); attend Fleeger Family Trust
                   deposition (2.0).

01/20/24    CCM    Review and circulate closing documents from both Fleeger             0.40             218.00
                   counsel and credit bid counsel to Hunton team.

01/22/24    AJP    Call with J. Wolfshohl to prepare for hearing (.3); call with        2.60           2,067.00
                   Hunton regarding same (.5); review and revise second
                   amendment to Lenders' asset purchase agreement (.8); listen
                   to D. Brickley's testimony at hearing on motion to modify sale
                   order (1.0).

01/22/24    JWW    Conference with Hunton regarding PH comments to Second               7.10           6,212.50
                   Amendment and related issues (.8); conference with P.
                   Hughes regarding hearing (.2); prepare for hearing with D.
                   Brickley (1.0); attend hearing on motion to amend sale order
                   (5.1).
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Date        Tkpr   Description                                                        Hours           Amount
01/23/24    AJP    Call with J. Wolfshohl reviewing hearing and discussing             0.20            159.00
                   comments to second amendment.

01/23/24    JWW    Meet with A. Power regarding hearing and next steps with            1.60           1,400.00
                   closing (.2); conference with D. Brickley regarding same and
                   related issues (.6); conference with T. Davidson regarding
                   Second Amendment (.3); further conference with T. Davidson
                   regarding same (.2); emails regarding revisions to Second
                   Amendment and status of sending to Lenders (.3).

01/24/24    CCM    Correspondence with A. Power and J. Wolfshohl regarding             0.20             109.00
                   status of closing documents.

01/24/24    AJP    Attention to emails regarding estimate of taxes for closing and     1.20             954.00
                   second amendment treatment of tax claims (.2); attention to
                   emails regarding status of open items on closing checklist for
                   lenders' sale (.2); several calls with J. Wolfshohl regarding
                   revisions to second amendment (.5); revise second
                   amendment and circulate new redline (.3).

01/24/24    JWW    Phone conference with L. Metzger regarding Second                   2.60           2,275.00
                   Amendment and resolution of fee dispute (.6); several phone
                   conferences with D. Brickley regarding same (.3); conferences
                   with T. Davidson and J. Rovira regarding Second Amendment
                   and related issues (.3); revise and circulate order on
                   emergency motion and Second Amendment (.5); several
                   further emails and phone conferences with L. Metzger and A.
                   Power regarding same (.7); emails regarding further requested
                   changes to Second Amendment (.2).

01/25/24    CCM    Correspondence with J. Wolfshohl and A. Power regarding             2.00           1,090.00
                   status of closing docs (.2); review, revise and circulate forms
                   of closing documents to title company for review (.4); call with
                   title company (.3); update closing documents for executions
                   and circulate for execution by D. Brickley (1.1).
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Date        Tkpr   Description                                                       Hours           Amount
01/25/24    AJP    Attention to emails regarding closing documents for lenders'       0.20            159.00
                   sale.

01/25/24    JWW    Phone conference with L. Metzger regarding status of second        1.70           1,487.50
                   amendment, sale order and fee dispute (.3); review proposed
                   revisions to documents and conferences with A. Power and D.
                   Brickley regarding same (.7); further conference with L.
                   Metzger regarding same (.3); emails regarding tax proration
                   and related issues for second amendment (.4).

01/26/24    CCM    Correspondence with title company regarding drafts of              1.10             599.50
                   documents and signature pages (.1); correspondence with J.
                   Wolfshohl and A. Power (.1); call with J. Wolfshohl and D.
                   Brickley (.1); call with E. Garfias (.1); review closing
                   documents and prepare final execution package (.5);
                   correspondence with title company regarding their approval of
                   the execution package (.2).

01/26/24    AJP    Review lenders' redline to second amendment and discuss            0.20             159.00
                   with J. Wolfshohl.

01/26/24    JWW    Conference with T. Davidson regarding Second Amendment             1.70           1,487.50
                   and status of comments (.4); phone conference with D.
                   Brickley regarding same and other open matters in case (.3);
                   further conference with T. Davidson (.1); conference with L.
                   Metzger regarding Second Amendment and fee dispute (.3);
                   several further emails and conference with A. Power regarding
                   same (.6).

01/29/24    CCM    Correspondence with J. Wolfshohl and A. Power regarding            1.20             654.00
                   status of closing (.1); correspondence with opposing counsel
                   regarding closing (.2); review title company changes to closing
                   documents and circulate comments thereon (.8); circulate
                   closing documents to Hunton team for review (.1).
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Date        Tkpr   Description                                                         Hours           Amount
01/29/24    AJP    Review order modifying sale order and discuss with J.                2.10           1,669.50
                   Wolfshohl (.2); attention to emails with C. McGee and D.
                   Brickley regarding status of closing in light of sale order (.2);
                   review original sale order language regarding amendments to
                   agreement and emails with J. Wolfshohl regarding same (.2);
                   conference call with Hunton regarding second amendment to
                   lenders' agreement (.3); call with L. Metzger regarding second
                   amendment and attention to follow up emails regarding same
                   and closing timeline (.3); call with J. Rovira about HOA fees
                   for purchase price adjustment (.3); follow up email and call
                   with D. Brickley regarding same (.5); review Soukis' redline of
                   second amendment (.1).

01/29/24    JWW    Emails regarding closing issues, final signature pages and status    2.90           2,537.50
                   of Second Amendment (.6); review order on sale (.2);
                   conference with A. Power regarding closing (.4); conference
                   with Souki's counsel regarding closing and revisions to Second
                   Amendment (.5); several follow-up calls regarding revisions to
                   Second Amendment and next steps in closing (1.2).

01/30/24    CCM    Correspondence with Hunton regarding closing document                1.80             981.00
                   review (.2); revise and circulate FIRPTA (.2); call with seller’s
                   attorneys regarding closing (.2); meeting with A. Power (.1);
                   correspondence with opposing counsel and debtor’s counsel
                   regarding outstanding items and closing documents (1.1).

01/30/24    AJP    Several conferences with J. Wolfshohl and call with D.               2.20           1,749.00
                   Brickley regarding finalizing second amendment (.9); attention
                   to numerous emails regarding status of closing documents and
                   timing (.6); review notice of appeal and call with L. Metzger
                   regarding same (.2); attention to emails regarding calculation of
                   purchase price adjustment (.3); review emergency motion for
                   stay pending appeal and email D. Brickley regarding same
                   (.2).
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Date        Tkpr   Description                                                         Hours           Amount
01/30/24    JWW    Phone conference with T. Davidson regarding final closing            3.20           2,800.00
                   issues (.3); phone conference with L. Metzger regarding same
                   and revisions to Second Amendment (.2); review revisions
                   and further discussions with A. Power regarding same and
                   closing (.5); conference with L. Metzger regarding closing
                   issues (.3); emails and conferences with PH team regarding
                   final closing documents, closing logistics and issues with appeal
                   (1.1); review motion for stay pending appeal and emails with
                   CRO regarding same (.3); conferences with CRO regarding
                   closing issues (.5).

01/31/24    CCM    Correspondence with opposing counsel, debtor’s counsel and           2.80           1,526.00
                   title company regarding closing (1.2); correspondence with J.
                   Wolfshohl and A. Power regarding second amendment (.3);
                   prepare and send revised signature page packet to D. Brickley
                   (.2); review and circulate outstanding signature pages (.2);
                   review and approve changes to deed (.2); call with J.
                   Wolfshohl and A. Power on outstanding items and follow up
                   related thereto with all parties (.2); call with all parties
                   regarding closing (.2); correspondence regarding proof of
                   funds and calls with D. Dregne, A. Power and J. Wolfshohl
                   related thereto (.3).

01/31/24    AJP    Call with J. Wolfshohl regarding strategy related to stay            2.20           1,749.00
                   pending appeal (.3); legal research regarding same (.4); draft
                   notice of sale and attention to related emails (.2); numerous
                   calls and emails related to closing (1.3).
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Date         Tkpr     Description                                                            Hours           Amount
01/31/24     JWW      Phone conference with L. Metzger regarding motion for stay              3.50           3,062.50
                      (.2); meet with A. Power regarding same and closing status
                      (.4); conference with T. Davidson and several follow-up
                      emails regarding same (.7); numerous communications with
                      CRO, Lenders and PH team regarding finalizing sale and
                      closing (1.1); closing call (.2); further emails and conferences
                      with PH team and lenders (.8); emails with T. Davidson (.1).

Total Services                                                                              129.50      $99,661.50



Timekeeper Summary

Attorney/Legal Assistant                       Title                               Hours      Rate           Amount
AJP    Power, Aaron J.                         Partner                              39.00   795.00          31,005.00
JWW Joshua W. Wolfshohl                        Partner                              62.60   875.00          54,775.00
CCM Charles C. McGee                           Associate                            10.50   545.00           5,722.50
KLS    Kenesha L. Starling                     Associate                             5.20   525.00           2,730.00
CAS Carey A. Sakert                            Paralegal                            12.20   445.00           5,429.00


Total Disbursements                                                                                              $0.00


Invoice Total                                                                                           $99,661.50
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                                           TELEPHONE (713) 226-6000                                 JOSHUA W. WOLFSHOHL
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AVR AH LLC AND STRUDEL HOLDINGS LLC                                                               TAX ID# XX-XXXXXXX
CORPORATE RECOVERY SERVICES
ATTN: DOUG BRICKLEY


Fee/Employment Applications




                                           Invoice Summary


          Professional Services                                                $9,363.00
          Disbursements                                                             0.00

          Total Current Invoice                                                $9,363.00

          TOTAL AMOUNT DUE                                                     $9,363.00
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                                                                                                            TAX ID# XX-XXXXXXX




For professional services rendered and related expenses incurred in the above-referenced matter through
January 2024, as follows:


Date         Tkpr     Description                                                          Hours             Amount
01/05/24     AJP      Work on December fee statement and attention to related               0.30              238.50
                      emails.

01/08/24     EG       Correspondence on draft PH fifth fee statement.                        0.20                69.00

01/08/24     AJP      Review final draft of December fee statement and attention to          0.10                79.50
                      related emails.

01/09/24     EG       Attention to email on finalizing PH's fee statement.                   0.10                34.50

01/10/24     EG       Correspondence on PH and Stout's fee statements (.2);                  0.80              276.00
                      finalize and electronically file Stout's fee statement (.3);
                      download and circulate filed version (.1); coordinate service of
                      same (.2).

01/10/24     EG       Correspondence on PH and Stout Risius's fee statements (.2);           0.80              276.00
                      receive, review, and electronically file Stout Risius's fee
                      statement (.2); download and circulate filed copy (.1);
                      coordinate service of same (.2); update case file (.1).

01/10/24     AJP      Review Stout fee statement and attention to related emails.            0.10                79.50

01/21/24     AJP      Review the Court's order regarding Souki statement on                  5.00            3,975.00
                      payment of fees (.1); several calls with J. Wolfshohl regarding
                      motion to amend employment orders (.4); draft motion to
                      amend Porter Hedges and Stout employment orders and J.
                      Wolfshohl amended declaration in support (4.2); revise motion
                      based on comments from J. Wolfshohl and circulate (.3).

01/21/24     JWW      Phone conferences with A. Power and review and revise                  0.50              437.50
                      motion to amend employment application.
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Date        Tkpr   Description                                                        Hours           Amount
01/22/24    EG     Correspondence on emergency motion to amend employment              1.40            483.00
                   orders (.2); receive, review, finalize, and electronically file
                   same (.4); download and circulate same (.1); coordinate
                   service of same (.2); update file accordingly (.1); email case
                   manager on submission of same (.1); further emails on Stout's
                   fee statement (.1); electronically file and serve same (.2).

01/22/24    AJP    Draft D. Brickley supplemental declaration and revise J.            0.90             715.50
                   Wolfshohl declaration (.4); review J. Wolfshohl revisions to
                   motion to amend employment orders (.1); final review and
                   revision to motion to amend (.3); review and approve filing of
                   Stout first interim fee application (.1).

01/23/24    EG     Correspondence on proposed order to emergency motion                0.10               34.50
                   requesting amended orders.

01/23/24    AJP    Review redline to proposed order on motion to amend                 0.20             159.00
                   employment orders and discuss with J. Wolfshohl.

01/23/24    JWW    Phone conference with L. Metzger regarding potential                1.90           1,662.50
                   resolution to fee issues and related items (.9); conference with
                   J. Rovira regarding same (.5); further conferences and emails
                   regarding same (.5).

01/24/24    AJP    Call and emails with J. Wolfshohl regarding proposed                0.30             238.50
                   revisions to order on motion to amend employment orders to
                   resolve Lenders objection.

01/25/24    AJP    Attention to emails regarding lenders' comments to proposed         0.10               79.50
                   order amending employment order.

01/29/24    AJP    Discuss status of Souki funding with J. Wolfshohl and draft         0.30             238.50
                   second supplemental disclosure.
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Date         Tkpr     Description                                                          Hours           Amount
01/30/24     EG       Correspondence on second supplemental declaration of J.               0.60            207.00
                      Wolfshohl and D. Brickley (.2); receive, finalize, and
                      electronically file same with court (.3); download and circulate
                      filed version (.1).

01/30/24     AJP      Draft second supplemental declaration for D. Brickley and             0.10               79.50
                      attention to related emails.

Total Services                                                                             13.80          $9,363.00



Timekeeper Summary

Attorney/Legal Assistant                      Title                               Hours     Rate           Amount
AJP    Power, Aaron J.                        Partner                              7.40   795.00           5,883.00
JWW Joshua W. Wolfshohl                       Partner                              2.40   875.00           2,100.00
EG     Eliana Garfias                         Paralegal                            4.00   345.00           1,380.00


Total Disbursements                                                                                            $0.00


Invoice Total                                                                                             $9,363.00
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AVR AH LLC AND STRUDEL HOLDINGS LLC                                                                 TAX ID# XX-XXXXXXX
CORPORATE RECOVERY SERVICES
ATTN: DOUG BRICKLEY


Financing/Cash Collateral




                                            Invoice Summary


           Professional Services                                                $11,370.50
           Disbursements                                                              0.00

           Total Current Invoice                                                $11,370.50

           TOTAL AMOUNT DUE                                                     $11,370.50
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For professional services rendered and related expenses incurred in the above-referenced matter through
January 2024, as follows:


Date         Tkpr     Description                                                          Hours             Amount
01/02/24     AJP      Attention to emails regarding status of funding DIP (.2); call        0.70              556.50
                      with J. Wolfshohl and D. Brickley regarding same (.5).

01/03/24     AJP      Review email history and compile outline of dispute over DIP           0.80              636.00
                      funding.

01/04/24     AJP      Calls with J. Wolfshohl and D. Brickley regarding dispute over         2.80            2,226.00
                      DIP funding (.6); begin drafting emergency motion to compel
                      DIP funding (2.2).

01/04/24     JWW      Several conferences with D. Brickley regarding sale issues and         4.00            3,500.00
                      DIP funding (1.7); conference with A. Power regarding same
                      and motion to be filed with Court (.8); several phone
                      conferences with J. Rovira and T. Davidson regarding same
                      (1.1); emails with Orrick regarding same issues (.4).

01/08/24     AJP      Conference call with D. Brickley and J. Wolfshohl regarding            1.80            1,431.00
                      status of negotiations on DIP funding and preparation of
                      budget (.8); work on budget for remainder of January and
                      attention to related calls and emails with J. Wolfshohl (1.0).

01/09/24     AJP      Finalize agenda for call with DIP lenders' counsel (.1); discuss       1.40            1,113.00
                      budget issues with J. Wolfshohl prior to call (.2); conference
                      call with DIP lenders counsel regarding go-forward budget
                      and payment of past due amounts directly by C. Souki (.8);
                      revise budget and attention to related emails with J. Wolfshohl
                      (.3).

01/10/24     AJP      Continue revising proposed budget and email and call with J.           0.50              397.50
                      Wolfshohl regarding same.

01/11/24     AJP      Continue working on go-forward budget (.4); calls and emails           0.80              636.00
                      with J. Wolfshohl regarding same (.4).
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Date         Tkpr     Description                                                          Hours           Amount
01/17/24     AJP      Review and revise draft of statement regarding C. Souki               0.10             79.50
                      payment of fees.

01/18/24     AJP      Review Beyond the Beach objection to C. Souki payment of              0.50             397.50
                      fees and email comments to D. Brickley and J. Wolfshohl (.3);
                      call from J. Rovira regarding same (.2).

01/19/24     AJP      Review Lenders' objection to Souki's payment of fees.                 0.20             159.00

01/22/24     AJP      Call with J. Wolfshohl and Hunton regarding dispute over C.           0.30             238.50
                      Souki direct payment of professional fees.

Total Services                                                                             13.90      $11,370.50



Timekeeper Summary

Attorney/Legal Assistant                      Title                               Hours     Rate           Amount
AJP    Power, Aaron J.                        Partner                              9.90   795.00           7,870.50
JWW Joshua W. Wolfshohl                       Partner                              4.00   875.00           3,500.00


Total Disbursements                                                                                            $0.00


Invoice Total                                                                                         $11,370.50
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                                         ________________________________                 Date              02/09/24
                                                                                                        018111-0012
                                            TELEPHONE (713) 226-6000                               JOSHUA W. WOLFSHOHL
                                            TELECOPIER (713) 228-1331



AVR AH LLC AND STRUDEL HOLDINGS LLC                                                              TAX ID# XX-XXXXXXX
CORPORATE RECOVERY SERVICES
ATTN: DOUG BRICKLEY


Adversary Proceedings/Litigation




                                            Invoice Summary


           Professional Services                                                $280.50
           Disbursements                                                           0.00

           Total Current Invoice                                                $280.50

           TOTAL AMOUNT DUE                                                     $280.50
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                                           PORTER HEDGES LLP
                                         A REGISTERED LIMITED LIABILITY PARTNERSHIP

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                                               ________________________________                      Date              02/09/24
                                                                                                                   018111-0012
                                                  TELEPHONE (713) 226-6000                                    JOSHUA W. WOLFSHOHL
                                                  TELECOPIER (713) 228-1331



                                                                                                            TAX ID# XX-XXXXXXX




For professional services rendered and related expenses incurred in the above-referenced matter through
January 2024, as follows:


Date         Tkpr Description                                                              Hours             Amount
01/05/24     MLW Confer with District Court Clerk regarding Order Striking                  0.30              121.50
                  Designation of Record (.2); update A. Power regarding same
                  (.1).

01/16/24     AJP      Attention to emails regarding lenders' missed deadline to file         0.10                79.50
                      opening appellant's brief.

01/17/24     AJP      Attention to emails regarding Lenders' opening appellants'             0.10                79.50
                      brief and timing for response brief.

Total Services                                                                               0.50             $280.50



Timekeeper Summary

Attorney/Legal Assistant                      Title                               Hours     Rate             Amount
AJP    Power, Aaron J.                        Partner                              0.20   795.00              159.00
MLW Mitzie L. Webb                            Paralegal                            0.30   405.00              121.50


Total Disbursements                                                                                              $0.00


Invoice Total                                                                                                 $280.50
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                                            TELEPHONE (713) 226-6000                                 JOSHUA W. WOLFSHOHL
                                            TELECOPIER (713) 228-1331



AVR AH LLC AND STRUDEL HOLDINGS LLC                                                                TAX ID# XX-XXXXXXX
CORPORATE RECOVERY SERVICES
ATTN: DOUG BRICKLEY


Plan and Disclosure Statement




                                            Invoice Summary


           Professional Services                                                $2,584.50
           Disbursements                                                             0.00

           Total Current Invoice                                                $2,584.50

           TOTAL AMOUNT DUE                                                     $2,584.50
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                                                                                                                   018111-0014
                                                   TELEPHONE (713) 226-6000                                   JOSHUA W. WOLFSHOHL
                                                   TELECOPIER (713) 228-1331



                                                                                                            TAX ID# XX-XXXXXXX




For professional services rendered and related expenses incurred in the above-referenced matter through
January 2024, as follows:


Date         Tkpr     Description                                                          Hours             Amount
01/09/24     AJP      Draft second motion to extend exclusivity (1.2); email J.             1.30             1,033.50
                      Wolfshohl regarding strategy related to same (.1).

01/10/24     AJP      Revise motion to extend exclusivity and email Hunton                   0.30              238.50
                      regarding same.

01/11/24     AJP      Call with J. Wolfshohl regarding motion to extend exclusivity.         0.10                79.50

01/16/24     AJP      Attention to emails regarding motion to extend exclusivity.            0.10                79.50

01/17/24     AJP      Revise motion to extend exclusivity and email lenders' counsel         0.20              159.00
                      regarding same.

01/19/24     AJP      Attention to emails regarding motion to extend exclusivity and         0.30              238.50
                      discuss with J. Wolfshohl.

01/22/24     EG       Correspondence on second motion to extend exclusivity                  1.00              345.00
                      period (.2); receive, review, finalize, and electronically file
                      same (.4); download and circulate same (.1); coordinate
                      service of same (.2); update file accordingly (.1).

01/22/24     AJP      Final review and revisions to motion to extend exclusivity (.2);       0.30              238.50
                      email case manager regarding hearing on same (.1).

01/31/24     EG       Correspondence on notice of sale (.2); receive, finalize, and          0.50              172.50
                      electronically file same with court (.2); download and circulate
                      filed version (.1).

Total Services                                                                               4.10           $2,584.50
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                                     ________________________________                    Date              02/09/24
                                                                                                       018111-0014
                                        TELEPHONE (713) 226-6000                                  JOSHUA W. WOLFSHOHL
                                        TELECOPIER (713) 228-1331



                                                                                                TAX ID# XX-XXXXXXX




Timekeeper Summary

Attorney/Legal Assistant            Title                               Hours     Rate           Amount
AJP    Power, Aaron J.              Partner                              2.60   795.00           2,067.00
EG     Eliana Garfias               Paralegal                            1.50   345.00             517.50


Total Disbursements                                                                                  $0.00


Invoice Total                                                                                   $2,584.50
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                                   A REGISTERED LIMITED LIABILITY PARTNERSHIP

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                                         ________________________________                   Date              02/09/24
                                                                                                          018111-0018
                                            TELEPHONE (713) 226-6000                                 JOSHUA W. WOLFSHOHL
                                            TELECOPIER (713) 228-1331



AVR AH LLC AND STRUDEL HOLDINGS LLC                                                                TAX ID# XX-XXXXXXX
CORPORATE RECOVERY SERVICES
ATTN: DOUG BRICKLEY


Hearings




                                            Invoice Summary


           Professional Services                                                $1,321.50
           Disbursements                                                             0.00

           Total Current Invoice                                                $1,321.50

           TOTAL AMOUNT DUE                                                     $1,321.50
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                                                                                                                   018111-0018
                                                   TELEPHONE (713) 226-6000                                   JOSHUA W. WOLFSHOHL
                                                   TELECOPIER (713) 228-1331



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For professional services rendered and related expenses incurred in the above-referenced matter through
January 2024, as follows:


Date         Tkpr     Description                                                           Hours            Amount
01/02/24     EG       Review notice of virtual hearing and docketing of same.                0.20              69.00

01/05/24     KLS      Attend Emergency Virtual Hearing regarding Reconsideration             1.40              735.00
                      of Order Granting Secured Parties' Emergency Motion to
                      Modify Sale Order to Extend Closing Date.

01/19/24     EG       Correspondence on witness/exhibit list filing related to the           0.70              241.50
                      January 22nd hearing (.2); discuss same with M. Webb (.1);
                      receive, review, and electronically file same with court (.2);
                      download and circulate filed version (.1); update file (.1).

01/23/24     EG       Correspondence on hearing of emergency motion.                         0.10                34.50

01/24/24     EG       Draft, circulate, and electronically file notice of hearing (.3);      0.70              241.50
                      download and circulate filed version (.1); update file
                      accordingly and coordinate service of same (.2); follow up
                      emails with case manager on submission of same (.1).

Total Services                                                                                3.10          $1,321.50



Timekeeper Summary

Attorney/Legal Assistant                       Title                               Hours     Rate            Amount
KLS    Kenesha L. Starling                     Associate                            1.40   525.00             735.00
EG     Eliana Garfias                          Paralegal                            1.70   345.00             586.50


Total Disbursements                                                                                              $0.00
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                                                                                          018111-0018
                                        TELEPHONE (713) 226-6000                     JOSHUA W. WOLFSHOHL
                                        TELECOPIER (713) 228-1331



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Invoice Total                                                                      $1,321.50
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                                          ________________________________                 Date              02/09/24
                                                                                                         018111-0020
                                             TELEPHONE (713) 226-6000                               JOSHUA W. WOLFSHOHL
                                             TELECOPIER (713) 228-1331



AVR AH LLC AND STRUDEL HOLDINGS LLC                                                               TAX ID# XX-XXXXXXX
CORPORATE RECOVERY SERVICES
ATTN: DOUG BRICKLEY


Reporting




                                             Invoice Summary


            Professional Services                                                $525.00
            Disbursements                                                           0.00

            Total Current Invoice                                                $525.00

            TOTAL AMOUNT DUE                                                     $525.00
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                                                                                                                   018111-0020
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                                                  TELECOPIER (713) 228-1331



                                                                                                            TAX ID# XX-XXXXXXX




For professional services rendered and related expenses incurred in the above-referenced matter through
January 2024, as follows:


Date         Tkpr     Description                                                          Hours             Amount
01/22/24     EG       Correspondence on monthly operating reports (.1); receive,            0.60              207.00
                      review, and electronically file same (.3); download and
                      circulate filed versions (.1); update file accordingly (.1).

01/22/24     AJP      Review December MOR and emails and call with J. Caldwell               0.40              318.00
                      regarding revisions.

Total Services                                                                               1.00             $525.00



Timekeeper Summary

Attorney/Legal Assistant                      Title                               Hours     Rate             Amount
AJP    Power, Aaron J.                        Partner                              0.40   795.00              318.00
EG     Eliana Garfias                         Paralegal                            0.60   345.00              207.00


Total Disbursements                                                                                              $0.00


Invoice Total                                                                                                 $525.00
